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                                                                         March 30, 2024

 Via Electronic Filing
 Hon. Zahid N. Quraishi
 United States District Court
 Clarkson S. Fisher Building
 402 East State Street
 Trenton, New Jersey 08608

             Re:         Andy Kim, et al. v. Hanlon, et al.
                         Docket No. 3:24-cv-01098-ZNQ-TJB

 Dear Judge Quraishi:

        This office represents Intervenor Camden County Democratic Committee (“CCDC”) in the
 above matter. Yesterday, Defendant County Clerks filed a letter in lieu of a more formal motion
 pursuant to Fed. R. Civ. P. 62(c)(1) and L. Civ. R. 65.1(d) seeking an emergency stay of the Court’s
 Order (ECF No. 195) granting Plaintiffs’ Motion for Preliminary Injunction pending appeal of that
 Order.

        Please be advised that CCDC joins in the request for an emergency stay of the Court’s
 Order by Defendant County Clerks the arguments set forth therein.


                                                                         Respectfully submitted,
                                                                         BROWN & CONNERY, LLP

                                                                         s/ William M. Tambussi
                                                                         William M. Tambussi

 cc:         All Counsel of Record (via ECF)




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